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Ft|.ED B`¢' _§E;__ D,c,
IN THE UNITED STATES DISTRICT COURT
wESTERN DISTRICT OF TENNESSEE g§AUg|g M46.50
wESTERN DIVISION
HWMWL§S@
CLE ' .S ir.'" w
UNITED STATES OF AMERICA, . H&UJ[§`“JCUFH

MDGPWMHMH%
vS_ No. 05-20127“Ma

BHUTTER HARDEEP SINGH,

Defendant.

 

ORDER OF TRANSFER

 

The above-Styled case was tried On the Criminal Rotation
Docket by Judge J. Daniel Breen and is hereby transferred to
Judge Breen for Sentencing and all further proceedings.

It; is 50 ORDERED this 'gM`day of August, 2005.

JJMM.___

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

with Ru"e

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:05-CR-20127 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

